Case 8:25-cv-01119-MSS-LSG   Document 10-14   Filed 06/02/25   Page 1 of 5 PageID
                                    271




                             EXHIBIT C
Case 8:25-cv-01119-MSS-LSG   Document 10-14   Filed 06/02/25   Page 2 of 5 PageID
                                    272



                               YOUTUBE
                   https://www.youtube.com/@McNallyOfficial
Case 8:25-cv-01119-MSS-LSG   Document 10-14    Filed 06/02/25     Page 3 of 5 PageID
                                    273



                                 TIKTOK
                https://www.tiktok.com/@mcnallyofficial?lang=en
Case 8:25-cv-01119-MSS-LSG   Document 10-14    Filed 06/02/25   Page 4 of 5 PageID
                                    274



                              INSTAGRAM
                https://www.instagram.com/mcnallyofficial/?hl=en
Case 8:25-cv-01119-MSS-LSG   Document 10-14   Filed 06/02/25   Page 5 of 5 PageID
                                    275



                              FACEBOOK
                  https://www.facebook.com/McNallyOfficial1/
